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                                                                DATE FILED: May 30, 2019 3:10 PM
   DISTRICT COURT, WELD COUNTY, COLORADO                        FILING ID: 6EFF6621CA63F
                                                                CASE NUMBER: 2019CV30490
   Court Address: 901 9th Avenue
                  Greeley, CO 80631


   Plaintiff:     RITA BALDERES


   v.

   Defendant:     UNIVERSITY OF NORTHERN
                  COLORADO

                                                                Ÿ COURT USE ONLY Ÿ

   Attorneys (for Plaintiffs):                                 Case Number:

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                                          COMPLAINT




         Plaintiff Rita Balderes for her Complaint states:

         1.      Plaintiff Rita Balderes is a resident of Adams County, Colorado.

         2.      Defendant University of Northern Colorado is a state institution of higher

  education with its principal place of business in Weld County, Colorado.




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         3.      At all relevant times, Defendant UNC was covered by the definitions of

  “employer” set forth in 29 U.S.C. §203(d) of the Fair Labor Standards Act, 29 U.S.C. §203, et

  seq.

         4.      Venue is proper because Defendant UNC resides in Greeley County.

         5.      Ms. Balderes was hired by Defendant UNC on February 16, 2015.

         6.      Ms. Balderes was hired as an Environmental Health and Safety Specialist.

         7.      The Department of Environmental Health and Safety was comprised of two

  Environmental Health and Safety Specialists.

         8.      At all relevant times, Director of Environmental Health and Safety Glenn Adams

  supervised both Ms. Balderes and her male colleague. Until June 2017, Ms. Balderes

  performance was generally satisfactory.

         9.      Defendant UNC paid Ms. Balderes on a salary basis.

         10.     Defendant UNC classified Ms. Balderes as an exempt employee.

         11.     When Ms. Balderes first started her employment with Defendant UNC, she was

  not required to track her time.

         12.     On or around August 2017, Adams required Ms. Balderes to track her time, but

  limited her to showing no more than 40 hours per week on her time records.

         13.     Ms. Balderes typically worked between forty-five and fifty hours per week.

         14.     Adams was aware that Ms. Balderes regularly worked in excess of forty hours per

  workweek.




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         15.     During weeks when Ms. Balderes “on-call,” she was required to respond to calls

  within thirty minutes. She typically responded to two calls per week, each of which required

  between one and four hours of her time.

         16.     Ms. Balderes and her male colleague both raised questions to Adams about

  whether they should be paid overtime for working in excess of forty hours per workweek.

         17.     Ms. Balderes did not exercise the requisite level of independent judgment to

  qualify as an exempt employee.

         18.     UNC characterized her position as “professional staff support” in its job

  description.

         19.     Ms. Balderes’s work, such as any safety plan, was subject to approval by Adams.

         20.     One of Ms. Balderes’s primary job duties was preparing safety plans

         21.     Ms. Balderes’s work was based on published and well-known industry standards.

         22.     UNC listed the well-known industry standards in its job description: "Guidance is

  typically available as printed regulations, references, statutes, and policy, or as existing models

  (available through the Internet; computer-based programs/databases; technical publications -

  including trade and government; verbal and written communication with government

  representatives)."

         23.     Ms. Balderes did not have the authority to bind Defendant UNC.


                                   FIRST CLAIM FOR RELIEF
                                (Fair Labor Standards Act - Overtime)

         24.     Defendant UNC was required to pay Ms. Balderes time-and-a-half pay for hours

  she worked in excess of forty per workweek.


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          25.      Ms. Balderes worked in excess of forty hours per workweek frequently.

          26.      Ms. Balderes was not paid for the hours that she worked in excess of forty per

  workweek.

          27.      Defendants' violation of the FLSA was willful under 29 U.S.C. §255(a) because

  Defendants either knew or acted with a reckless disregard for the fact that Ms. Balderes was

  entitled to overtime under the FLSA.

          28.      Ms. Balderes is also entitled to recover from Defendants liquidated damages,

  reasonable attorneys' fees, costs, and interest, all as contemplated by 29 U.S.C. §216(b) of the

  FLSA.

                                        PRAYER FOR RELIEF

          Plaintiff Rita Balderes requests judgment in her favor against Defendant University of

  Northern Colorado for:

     A.         All amounts due to her for unpaid wages and compensation, including overtime
                compensation owed to her;

     B.         Liquidated damages under the FLSA;

     C.         Attorneys’ fees;

     D.         Prejudgment and postjudgment interest;

     E.         Costs; and

     F.         Such other relief as the Court deems proper.


  Dated: May 30, 2019


                                                 This document, with original or scanned signatures,
                                                 is available for inspection at the office of
                                                 undersigned counsel.


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